                Case 21-20923-jrs                 Doc 1     Filed 08/26/21 Entered 08/26/21 16:41:39                             Desc Main
                                                            Document      Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RHCSC Gainesville Health Holdings LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Landings at Gainesville
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2030 Windward Lane                                              P.O. Box 2568
                                  Gainesville, GA 30501                                           Hickory, NC 28603
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hall                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 21-20923-jrs                Doc 1          Filed 08/26/21 Entered 08/26/21 16:41:39                                 Desc Main
                                                                 Document      Page 2 of 17
Debtor    RHCSC Gainesville Health Holdings LLC                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6233

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 21-20923-jrs                     Doc 1        Filed 08/26/21 Entered 08/26/21 16:41:39                                  Desc Main
                                                                    Document      Page 3 of 17
Debtor    RHCSC Gainesville Health Holdings LLC                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attached List                                             Relationship
                                                                 Northern District of
                                                     District    Georgia                      When      8/26/21                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 21-20923-jrs      Doc 1         Filed 08/26/21 Entered 08/26/21 16:41:39                    Desc Main
                                                     Document      Page 4 of 17
Debtor   RHCSC Gainesville Health Holdings LLC                                      Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 21-20923-jrs             Doc 1        Filed 08/26/21 Entered 08/26/21 16:41:39                                Desc Main
                                                            Document      Page 5 of 17
Debtor    RHCSC Gainesville Health Holdings LLC                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 26, 2021
                                                  MM / DD / YYYY


                             X   /s/ Bryan W. Starnes                                                     Bryan W. Starnes
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Officer




18. Signature of attorney    X   /s/ J. Robert Williamson                                                  Date August 26, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 J. Robert Williamson 765214
                                 Printed name

                                 Scroggins & Williamson, P.C.
                                 Firm name

                                 4401 Northside Parkway
                                 Suite 450
                                 Atlanta, GA 30327
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-893-3880                  Email address      centralstation@swlawfirm.com

                                 765214 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                            Document      Page 6 of 17
Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                            Document      Page 7 of 17
Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                            Document      Page 8 of 17
Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                            Document      Page 9 of 17
              Case 21-20923-jrs                      Doc 1           Filed 08/26/21 Entered 08/26/21 16:41:39                   Desc Main
                                                                     Document     Page 10 of 17




 Fill in this information to identify the case:

 Debtor name         RHCSC Gainesville Health Holdings LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the Consolidated 30 Largest Unsecured Claims and Are Not Insiders
                  (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          08/26/21                                X /s/ Bryan W. Starnes
                                                                       Signature of individual signing on behalf of debtor

                                                                       Bryan W. Starnes
                                                                       Printed name

                                                                       Authorized Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                    Case 21-20923-jrs                     Doc 1       Filed 08/26/21 Entered 08/26/21 16:41:39                                        Desc Main
                                                                      Document     Page 11 of 17

 Fill in this information to identify the case:
 Debtor name RHCSC Gainesville Health Holdings LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the Consolidated 30 Largest Unsecured
Claims and Are Not Insiders
                                     12/15

A list of creditors holding the consolidated 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include
claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the consolidated 30 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Moore & Van Allen,              Patrick Harvey   Goods and                             Unliquidated                                                                      $92,193.36
 PLLC,                           patharvey@mvalaw Services
 Suite 4700                      .com
 100 North Tryon                 704-331-1000
 Street
 Charlotte, NC
 28202-4003
 Chatham County                  Sonya L. Jackson Property Taxes                                                                                                          $43,084.02
 Tax Commissioner                tax@chathamcount
 222 W Oglethorpe                y.org
 Ave                             912-652-7271
 Savannah, GA 31401
 Muscogee County                 Lula Huff        Property Taxes                                                                                                          $16,031.53
 Tax Collector                   spollard@columbu
 PO Box 1441                     sga.org
 Columbus, GA                    706-653-4211
 31902
 Osceola Supply, Inc             Ian White         Goods and                                                                                                              $11,734.25
 915 Commerce Blvd               iwhite@osceolasu Services
 Midway, FL 32343                pply.com
                                 850-580-9800
 One Source                      Christina Reddick Utilities                                                                                                                $9,401.24
 Communications                  creddick@onesour
 PO Box 8385                     ce.net
 1655 East Arlington             252-616-3467
 Blvd
 Greenville, NC
 27858
 Georgia Power                   Lisa Allen                     Utilities                                                                                                   $9,009.92
 96 Annex                        r2gpcrpb@souther
 Atlanta, GA 30396               nco.com
                                 888-660-5890
 Alabama Power                   Cindy Yang                     Utilities                                                                                                   $7,970.42
 PO Box 242                      leaseidgpc@south
 Birmingham, AL                  ernco.com
 35292                           888-430-5787


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 21-20923-jrs                     Doc 1       Filed 08/26/21 Entered 08/26/21 16:41:39                                        Desc Main
                                                                      Document     Page 12 of 17


 Debtor    RHCSC Gainesville Health Holdings LLC                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Montgomery Water                Tina Lesser     Utilities                                                                                                                  $5,884.12
 Works                           customercare@mw
 PO Box 1670                     wssb.com
 Montgomery, AL                  334-705-5500
 36102
 Floyd County Water              Steve Hulsey                   Utilities                                                                                                   $5,810.50
 Dept                            water@floydcounty
 PO Box 1169                     ga.org
 Rome, GA 30162                  706-291-5132
 City of Gainesville             Ed Bielarski                   Property Taxes                                                                                              $4,379.28
 PO Box 2496                     webmaster@gru.co
 Gainesville, GA                 m
 30503                           770-535-6878
 Sharp Electronics               Marshall Brookover             Goods and                                                                                                   $4,244.65
 Corporation                     marshall.brookover             Services
 Dept AT 40322                   @sharpusa.com
 Atlanta, GA 31192               704-672-3074
 Coffee County Tax               Monty Vickers                  Property Taxes                                                                                              $4,000.75
 Commissioner                    monty.vickers@cof
 PO Box 1207                     feecounty-ga.gov
 Douglas, GA 31534               912-384-4895
 Smartlinx Solutions,            Teresa Ozga                    Goods and                                                                                                   $3,634.17
 LLC                             teresa.ozga@smart              Services
 PO Box 22598                    linx.com
 New York, NY 10087              877-501-1310 x0174
 Amber Sprinkler                 Lee Cawthon                    Goods and                                                                                                   $3,550.00
 Inspection Co.                  lcawthon@c2creso               Services
 855 Marathon                    urces.com
 Parkway                         678-495-0050
 Suite 2
 Lawrenceville, GA
 30046
 Georgia Dept of                 Caylee Noggle      Goods and                                                                                                               $2,950.00
 Community Health                hit.info@dch.ga.go Services
 Healthcare Facility             v
 Regulation Div.                 404-656-4507
 2 Peachtree Street
 NW
 Atlanta, GA 30303
 Tierce Industrial               Angie Tierce                   Goods and                                                                                                   $2,750.00
 Service, Inc                    tierce2590@aol.co              Services
 PO Box 680780                   m
 Prattville, AL 36068            334-272-7130
 Montgomery County               Janet Buskey                   Property Taxes                                                                                              $2,449.50
 Revenue                         allysonholland@m
 Commissioner                    c-ala.org
 PO Box 4720                     334-832-1250
 Montgomery, AL
 36103




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 21-20923-jrs                     Doc 1       Filed 08/26/21 Entered 08/26/21 16:41:39                                        Desc Main
                                                                      Document     Page 13 of 17


 Debtor    RHCSC Gainesville Health Holdings LLC                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 De lage Landen                  Steve Long        Equipment Lease                                                                                                          $1,326.56
 Financial Services              customercarecente
 PO Box 41602                    r@leasedirect.com
 Philadelphia, PA                800-355-1987
 19101
 Columbus Water                  Lynn Hammer                    Utilities                                                                                                    1,261.77
 Works                           customercare@col
 PO Box 1600                     umbusww.com
 Columbus, GA                    706-649-3400
 31904
 SBS Leasing                     Liza Lacey          Equipment Lease                                                                                                        $1,128.97
 PO Box 41602                    llacey@leasedirect.
 Philadelphia, PA                com
 19101                           800-736-0220
 Edwards Plumbing                Gary Edwards        Goods and                                                                                                              $1,040.00
 Heating AC Inc                  service@edwardsh Services
 PO Box 70399                    vac.com
 Montgomery, AL                  334-834-6120
 36107
 GFL Environmental               Theresa Edwards                Goods and                                                                                                     $940.00
 PO Box 555193                   theresaedwards@g               Services
 Detroit, MI 48255               flenv.com
                                 252-264-2996
 Creative Security               Brittney Long                  Goods and                                                                                                     $714.00
 Systems                         accounting@creati              Services
 PO Box 211358                   vesecsys.com
 Montgomery, AL                  334-244-2251
 36121
 Roto-Rooter           Angie Tierce                             Goods and                                                                                                     $700.00
 PO Box 680780         tierce2590@aol.co                        Services
 Prattville, AL 36068  m
                       334-272-7130
 Waste Management Kim Little                                    Utilities                                                                                                     $695.14
 of Atlanta Hauling    customercare@wa
 PO Box 4648           stemanagement.co
 Carol Stream, IL      m
 60197                 866-319-5397
 City of Social Circle Georgia Hooks                            Property Taxes                                                                                                $650.53
 PO Box 310            ghooks@socialcirc
 Social Circle, GA     lega.gov
 30025                 770-464-2380
 Montgomery Area       Craig Bruce                              Goods and                                                                                                     $599.50
 Chamber of            cbruce@montgom                           Services
 Commerce              erychamber.com
 41 Commerce Street 334-240-9494
 Montgomery, AL
 36104
 Republic Services     Helen Knott                              Utilities                                                                                                     $582.73
 PO Box 9001099        hknott@republicse
 Louisville, KY 40290 rvices.com
                       800-546-4285



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 21-20923-jrs                     Doc 1      Filed 08/26/21 Entered 08/26/21 16:41:39                                         Desc Main
                                                                     Document     Page 14 of 17


 Debtor    RHCSC Gainesville Health Holdings LLC                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Greater Hall                    Christen Wilbanks              Goods and                                                                                                     $490.00
 Chamber of                      cwilbanks@ghcc.c               Services
 Commerce, Inc                   om
 230 E Butler                    770-532-6206
 Parkway
 Gainesville, GA
 30501
 Speramus, Inc                   Juval Lerner                   Goods and                                                                                                     $480.00
 PO Box 741686                   juval@crewapp.co               Services
 Los Angeles, CA                 m
 90074                           832-808-0016




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
              Case 21-20923-jrs                      Doc 1           Filed 08/26/21 Entered 08/26/21 16:41:39              Desc Main
                                                                     Document     Page 15 of 17




                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      RHCSC Gainesville Health Holdings LLC                                                          Case No.
                                                                                    Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       August 26, 2021                                             /s/ Bryan W. Starnes
                                                                         Bryan W. Starnes/Authorized Officer
                                                                         Signer/Title




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
    Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                                Document     Page 16 of 17


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         Alliance Insurance Group
                         941 Oak Street
                         Eugene, OR 97401



                         City of Gainesville
                         PO Box 2496
                         Gainesville, GA 30503



                         Colleen A. Murphy
                         Greenberg Traurig
                         One International Pl, Ste 2000
                         Boston, MA 02110



                         Georgia Department of Labor
                         148 Andrew Young Int'l Blvd
                         Suite 826
                         Atlanta, GA 30303-1751



                         Georgia Department of Revenue
                         1800 Century Blvd, NE
                         Suite 9100
                         Atlanta, GA 30345



                         Great American Insurance Group
                         Specialty Accounting
                         PO Box 89400
                         Cleveland, OH 44101-6400



                         Hall County
                         Personal Property Tax
                         P.O. Box 1780
                         Gainesville, GA 30503



                         Hall County
                         Real Property
                         P.O. Box 2895
                         Gainesville, GA 30503
Case 21-20923-jrs   Doc 1   Filed 08/26/21 Entered 08/26/21 16:41:39   Desc Main
                            Document     Page 17 of 17



                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101-7346



                     Internal Revenue Service
                     401 W. Peachtree Street, NW
                     Stop 334-D
                     Atlanta, GA 30308



                     IPFS Corporation
                     49 Stevenson Street
                     Suite 1275
                     San Francisco, CA 94105



                     Public Finance Authority
                     Attn: Scott Carper and Michael LaPierre
                     22 East Mifflin St, Suite 900
                     Madison, WI 53703



                     Tortoise Credit Strategies LLC
                     Attn: Garey M. Fuqua, Sr Portfolio Mgr
                     118-35 Quenns Blvd, Suite 400
                     Forest Hills, NY 11375



                     Tortoise Credit Strategies LLC
                     Attn: Social Infrastructure Legal Team
                     11550 Ash Street, Suite 300
                     Leawood, KS 66211



                     UMB Bank, N.A.
                     2 South Broadway
                     Suite 600
                     St. Louis, MO 63102



                     Waldrep LLP
                     Attn: Jennifer B. Lyday
                     101 S. Stratford Rd, Suite 210
                     Winston-Salem, NC 27104
